                  EXHIBIT B




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                            IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                            WESTERN DIVISION
--------------------------------------------------------- X
JASON WILLIAMS,                                           :
                                                          :        Case No. 5:19-cv-00475-BO
                             Plaintiff,                   :
                                                          :    PLAINTIFF JASON WILLIAMS’
               vs.                                        : FIRST SET OF INTERROGATORIES TO
                                                             DEFENDANT AT&T MOBILITY LLC
                                                          :
AT&T MOBILITY LLC,
                                                          :
                             Defendant.                   :
--------------------------------------------------------- X

         Pursuant to Federal Rules of Civil Procedure 26 and 34 and the Local Rules of the

Eastern District of North Carolina 26.1 and 34.1, Plaintiff Jason Williams (“Plaintiff” or

“Williams”) requests that Defendant AT&T Mobility LLC (“Defendant” or “AT&T”) answer the

following Interrogatories on or before July 6, 2020. Documents are to be produced for discovery

and inspection at the offices of Withers Bergman LLP, 430 Park Avenue, New York, New York

10022.

                                        INSTRUCTIONS

                Each interrogatory must be answered separately and the answer must immediately

follow a quote of the text of the specific interrogatory to which it responds.

                These interrogatories are to be answered by You to the extent of all information

which is or may be available to You, or any person, employee, agent, expert, accountant or

attorney who has acted or is now acting on Your behalf.

                If, after reasonable and thorough investigation, using due diligence, You are

unable to answer any interrogatory, or any part thereof, on the grounds of lack of information

available to You, specify in full and complete detail why the information is not available to You

and what has been done to locate such information. In addition, specify what knowledge or




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belief You do have concerning the unanswered portion of any interrogatory and set forth the

facts upon which such knowledge or belief is based.

               Where an interrogatory does not specifically request a particular fact, but where

such fact or facts are necessary to make the answer to said interrogatory either comprehensible,

complete or not misleading, You should include such fact or facts as part of said answer and said

interrogatory shall be deemed specifically to request such fact or facts.

               If You claim any form of privilege with regard to any oral Communication,

Document or tangible thing, whether based on a statute or otherwise as a ground for not

answering an interrogatory or any portion thereof, or for not voluntarily producing any tangible

thing or Document, set forth in Your answers, with respect to each such oral Communication,

Document or tangible thing for which You claim such a privilege, the following: (a) the date of

any oral Communication or the date of preparation of any document; (b) the name, address, title

and occupation of each of the participants in any such oral conversation or each of the authors

and addresses of any such document; (c) the name, title and address of the present custodian of

any such document or tangible thing; (d) a description of each such oral conversation, Document

or tangible thing (by subject matter or title) which is sufficient to identify the particular

conversation or tangible thing without revealing the information for which the privilege is

claimed; and (e) each and every fact or basis on which You claim any such privilege.

               When statements of factual information are requested, such requested information

includes the production of all formal and informal Documents which explain, clarify, describe or

in any way relate to the requested statement of factual information.




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               The Documents requested in the foregoing paragraph and described above

includes all Documents that were at any time in Your possession, without regard to whether such

Documents were originally prepared by You.

               Along with the answer to each numbered interrogatory, identify each person who

participated in or supplied information with respect to the preparation of the response to such

interrogatory, specifying whether each such person supplied relevant information, participated in

the preparation of the response, or both. If the response to any interrogatory contains

information supplied by more than one person, specify the particular information supplied by

each such person. In addition, specify whether the information supplied by each such person is

based on first-hand knowledge as to the matters contained in such answers and, if not, the

manner in which he acquired such information.

               These interrogatories are continuing in nature and responses which You later

learn are inaccurate or incomplete are to be reasonably and promptly supplemented.

               With regard to any Document that is supplied in answer to any interrogatory,

indicate the interrogatory or interrogatories to which said Document is responsive.

               If You contend that it would be unreasonably burdensome to obtain and provide a

response to any of these interrogatories, then in response to such interrogatory: (a) set forth the

response and all such information as is available to You without undertaking what You contend

to be an unreasonable burden; (b) describe with particularity the efforts made by You or on Your

behalf to secure the remaining information, identifying all persons consulted, describing all files,

records, and Documents reviewed, and identifying each person who assisted in seeking to

determine the response, and describe the nature of work done by each such person; and (c) state




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with particularity the grounds on which You contend that additional efforts to obtain the

requested information would be unreasonably burdensome.

               Each interrogatory herein should be construed independently and not with

reference to any other interrogatory for the purposes of limitation.

                     DEFINITIONS AND RULES OF CONSTRUCTION

       The following definitions shall apply:

       1.      “Defendant” or “You” or “Your” means Defendant AT&T, and each of its

parents, subsidiaries, affiliates, franchisees, Authorized Retailer, and each of its present and

former agents, employees, contractors, attorneys, attorneys-in-fact, accountants, representatives,

successors or assigns, and every other person or entity acting on its behalf.

       2.      “Authorized Retailer” means AT&T Authorized Retailers as described on the

website att.com, including https://www.att.com/att/newdealer/index.html.

       3.      “Williams Account(s)” means any AT&T telephone and/or data account

purchased by, created by, created for, provide to, or otherwise associated with Plaintiff.

       4.      “SIM Card” means a small removable chip that allows a cell phone to

communicate with the wireless carrier and the carrier to know what subscriber account is

associated with that phone, as described in the Complaint (Dkt. No. 2).

       5.      “SIM Swap” and/or “SIM Swapping” means unauthorized and illegitimate SIM

Card changes, as described in the Complaint, and includes attempted, alleged, or potentially

unauthorized and illegitimate SIM Card changes.

       6.      “Data” means any information, including but not limited to financial, identifying,

personal, or sensitive information.




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       7.       “Customer Proprietary Network Information” has the same meaning attributed to

it in the Complaint.

       8.      “Prime Communications, L.P.” or “Prime” means the entity identified in Your

Initial Disclosures.

       9.      “Alorica, Inc.” or “Alorica” means the entity identified in Your Initial

Disclosures.

       10.     “Convergys Customer Management Group Inc. n/k/a Concentrix Corporation” or

“Concentrix” means the entity identified in Your Initial Disclosures.

       11.     “TPUSA, Inc.” or “Teleperformance” means the entity identified in Your Initial

Disclosures.

       12.     AT&T “Leadership” means any individuals currently or formerly listed as part of

AT&T’s Leadership on AT&T’s website, including, but not limited to, Randall L. Stephenson,

Ed Gillespie, David S. Huntley, Lori Lee, David R. McAtee II, Angela Santone, John Stankey,

and John J. Stephens.

       13.     “Communication(s)” means ANY oral or written expression, or nonverbal

conduct intended as the substitute for oral or written expression, including but not limited to

email, text messages, social media communications including information posted on or

transmitted through social networking platforms (e.g., Myspace and Facebook), digital file-

sharing services (e.g., Flickr, Dropbox), online storage or in the cloud (e.g., Dropbox or iCloud),

blogs and microblogs (e.g., Twitter), instant messages (e.g. What’sApp), SMS messages, MMS

messages, voicemail, voice recordings, memoranda, notes, diaries, and calendar entries.

       14.     “Document(s)” include, but are not limited to the following items: agreements or

contracts, Communications (including but not limited to intracompany Communications),




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correspondence, e-mails, text messages, telegrams, cables, memoranda, records, books,

summaries of records or personal conversations or interviews, diaries, desk calendars,

appointment books, journals, and message pads, forecasts, statistical statements, accountants’

work papers, graphs, charts, diagrams, certificates and certifications, tables, indexes, pictures,

recordings, tapes, microfilm, charges, accounts, analytical records, minutes or records of

meetings, conferences or conversations, reports or summaries of interviews, reports or

summaries of investigations, texts or surveys, opinions or reports of consultants, appraisals,

records, reports or summaries of negotiations, advertisements, brochures, pamphlets, circulars,

trade letters, press releases, stenographic or hand-written or other notes, projections, working

papers, checks front and back, check stubs or receipts, envelopes, invoice vouchers, data

processing cards, tapes or disks or any other written, recorded, transcribed, punched, taped,

filmed or graphic matter, electronically stored information (including data stored on personal

electronic devices such as personal computers, laptops, a blackberry, smartphone, iPhone, iPad,

notebook, or tablet, as well as external storage such as hard drives, CD-ROMs, DVDs, or thumb

drives), social media communications, including information posted on or transmitted through

social networking platforms (e.g., MySpace, Instagram, TikTok, Snapchat and Facebook), digital

file-sharing services (e.g., Flickr, DropBox), online storage or in the cloud (e.g., DropBox or

iCloud), blogs and microblogs (e.g., Twitter); instant messages; text messages, SMS messages,

MMS messages; voicemail; and all drafts, alterations, and/or amendments of, or to, any of the

foregoing, however produced or reproduced, and every copy thereof that is not identical to the

original or that contains any commentary or notation whatsoever that does not appear on the

original, and any other Document or writing of whatever description, including but not limited to




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any information contained in any computer, computer peripheral equipment, computer library, or

website, although not yet printed out.

        15.     The terms “all,” “any,” and “each” shall be construed as all, any, and each, as

necessary to bring within the scope of the request all documents that might otherwise be

construed to be outside of its scope.

        16.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

        17.     “Concerning” means directly or indirectly constituting, describing, mentioning,

pertaining to, reflecting, referring to, regarding, supporting, substantiating, relating to,

evidencing, or refuting. Each of these terms or phrases used to define “Concerning” shall have

the same meaning and are used interchangeably.

        18.     The use of the singular form of any word includes the plural and vice versa. The

use of a verb in any tense shall be construed as the use of the verb in all other tenses whenever

necessary to bring within the scope of the request all responses which might otherwise be

construed to be outside its scope.

        19.     Unless otherwise specified in a particular request, these document requests

concern the time period from January 1, 2018, until the date of this request.




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                                     INTERROGATORIES

       Please respond to the following interrogatories in accordance with the Definitions and

Rules of Construction and the Instructions located at the back of this document:

       1.      Identify any of AT&T’s present and former agents, employees, managers,

executives, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer employees,

managers, executives, or contractors that worked on, dealt with, discussed, or otherwise were

involved with the Williams Account(s), and provide the full names, telephone numbers, email

addresses, and employee ID numbers of any such persons or entities.

ANSWER:



       2.      Identify any of AT&T’s present and former agents, employees, managers,

executives, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer employees,

managers, executives, or contractors that communicated with Plaintiff, or any person purporting

to be or to act on behalf of Plaintiff, or any person purporting to have authority to access or

modify any information concerning the Williams Account(s), and provide the full names,

telephone numbers, email addresses, and employee ID numbers of any such persons or entities.

ANSWER:



       3.      Identify any numbers, names, or other identifiers either temporarily or

permanently associated with the Williams Account(s), including any technical support

and/customer service ticket numbers.

ANSWER:




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       4.      Identify and describe each instance in which Plaintiff, or any person purporting to

be or to act on behalf of Plaintiff, or any person purporting to have authority to access or modify

any information concerning the Williams Account(s), contacted AT&T to request a SIM Swap.

ANSWER:



       5.      Identify each email address, telephone number, or other identifying information

used by Plaintiff, or any person purporting to be or to act on behalf of Plaintiff, or any person

purporting to have authority to access or modify any information concerning the Williams

Account(s), when contacting AT&T.

ANSWER:




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        6.           Provide the full names, telephone numbers, email addresses, and employee ID

numbers of the following individuals:

               (a)      Jessica, as described in Complaint Paragraph 74;

               (b)      Hassan, as described in Complaint Paragraph 74;

               (c)      Rex Mostoles, believed to have an employee ID number of RX8927, as

                        described in Complaint Paragraph 75, and partially identified in Your Initial

                        Disclosures;

               (d)      Stephen Defiore, as partially identified in Your Initial Disclosures;

               (e)      Marcus Vasquez, as partially identified in Your Initial Disclosures;

               (f)      Sydney Hancock, as partially identified in Your Initial Disclosures;

               (g)      Gabriel Jimenez, as partially identified in Your Initial Disclosures;

               (h)      Vanessa Libanan, as partially identified in Your Initial Disclosures.

ANSWER:



        7.           Identify any of AT&T’s present and former agents, employees, managers,

executives, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer employees,

managers, executives, or contractors that changed, modified, or altered the Williams Account(s),

or attempted to so, including the actual or attempted changing of any passcode, PIN, passwords,

or other login or security information associated with the Williams Account(s), and provide the

full names, telephone numbers, email addresses, and employee ID numbers of any such persons

or entities.

ANSWER:




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       8.         Identify and describe each instance when any of AT&T’s present and former

agents, employees, contractors, franchisees, Authorized Retailers, and/or Authorized Retailer

employees changed, modified, or altered the Williams Account(s), or attempted to so, including

the actual or attempted changing of any passcode, PIN, passwords, or other login or security

information associated with the Williams Account(s).

ANSWER:



       9.         From January 1, 2007 to the date of this request, describe any training that AT&T

provides or provided, arranges or arranged, organizes or organized, or otherwise makes or made

available to its agents, employees, contractors, franchisees, Authorized Retailers, and/or

Authorized Retailer employees concerning SIM Swapping, including:

            (a)      whether such training is or was mandatory;

            (b)      how AT&T provides or provided such training and ensures that it is or was

                     taken;

            (c)      the date such training is or was implemented (and discontinued if applicable);

                     and

            (d)      how AT&T creates or created and updates or updated such training.

ANSWER:




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        10.         From January 1, 2007 to the date of this request, identify and describe any AT&T

policies, procedures, internal controls, training, or other information concerning:

              (a)      The protection of Customer Proprietary Network Information (or CPNI) and

                       other sensitive customer data; and

              (b)      SIM Swapping.

ANSWER:



        11.         If any of the individuals You identify in response to Interrogatories 1, 2, 6, or 7

have been terminated, provide the date of and reason for each individual’s termination.

ANSWER:



        12.         Describe AT&T’s past and current business relationships with the following

entities:

              (a)      Prime;

              (b)      Alorica;

              (c)      Teleperformance; and

              (d)      Concentrix.

ANSWER:



        13.         From January 1, 2007 to the date of this request, identify and describe any

instances where an AT&T customer alleged to AT&T that they were subject to a SIM Swap.

ANSWER:




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       14.     From January 1, 2007 to the date of this request, identify and describe any all

claims, lawsuits, and administrative or regulatory actions Concerning SIM Swapping.

ANSWER:



       15.     From January 1, 2007 to the date of this request, identify any of AT&T’s present

and former agents, employees, managers, executives, contractors, franchisees, Authorized

Retailers, and/or Authorized Retailer employees, managers, executives, or contractors that are

and/or were responsible for the protection and security of AT&T customers’ Data and privacy,

including protection from SIM Swaps and provide the full names, telephone numbers, email

addresses, and employee ID numbers of any such persons or entities, as well as the date ranges

when those persons had such responsibilities. This requests includes the identity and contact

information of any managers or executives who lead groups, departments, or divisions

responsible for the protection and security of AT&T customers’ Data and privacy, including

members of AT&T’s Leadership.

ANSWER:




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Dated: June 5, 2020
       New York, New York
                                      WITHERS BERGMAN LLP



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                                  CERTIFICATE OF SERVICE
       I hereby certify that on date set out below, I served a true copy of the foregoing
PLAINTIFF JASON WILLIAMS’ FIRST SET OF INTERROGATORIES TO
DEFENDANT AT&T MOBILITY LLC by electronic mail, pursuant to the agreement of
counsel for all parties, to all counsel of record and additional persons on the service lists
provided by counsel for each party.


This the 5th day of June, 2020.


                                             WITHERS BERGMAN LLP



                                             ________________________________
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